      Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

 JASON STELL,                                      §
                                                   §
        Plaintiff,                                 §
                                                   §
 v.                                                §    CIVIL ACTION NO. 3:23-cv-80
                                                   §
 J.P. MORGAN MORTGAGE                              §
 ACQUISITION CORP.                                 §
                                                   §
        Defendants.                                §

                                  JOINT DISCOVERY PLAN
                                     UNDER FRCP 26(f)

1.     State where and when the conference among the parties required by Rule 26(f) of the
       Federal Rules of Civil Procedure was held, and identify the counsel who attended for
       each party, including name, address, bar number, phone and fax numbers, and email
       addresses. Note: The Rule 26(f) conference must be held in person or by phone, not
       simply over email.

        The parties conferred on June 12, 2023 by phone. Robert C. Vilt conferred on behalf of
Plaintiff; Melissa Gutierrez Alonso conferred on behalf of the Defendant J.P. Morgan Mortgage
Acquisition Corp. Each counsel’s bar number and contact information is included in the signature
block herein.

2.     List the cases related to this one that are pending in any state or federal court with
       the case number and court, and state how they are related.

       None.

3.     Briefly describe what this case is about.

       Plaintiff alleges breach of contract, violations of Texas Property Code § 51, promissory
estoppel, fraud in the inducement, declaratory judgement, and attempted wrongful foreclosure
stemming from the servicing of the mortgage on his home.

        Defendant denies Plaintiff’s allegations. Specifically, Defendant asserts that it granted
Plaintiff a Covid-19 forbearance. After the forbearance period ended, Defendant considered
Plaintiff for loss mitigation assistance. Plaintiff rejected the initial loan modification Defendant
offered and later reapplied. Defendant considered several additional applications, but Plaintiff did
not qualify for any additional loan modifications. Plaintiff’s contract claim is barred by his prior
material breach of the contract in question. Chapter 51 of the Texas Property Code does not provide
      Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 2 of 6




for a private right of action, and, in any event, Defendant sent all proper foreclosure notices.
Plaintiff cannot maintain a promissory estoppel claim because the parties’ relationship is governed
by a valid contract. Plaintiff’s fraud claim is barred by the economic loss rule and because
Defendant did not engage in any fraudulent activity.

4.     Specify the allegation of federal jurisdiction.

       Diversity jurisdiction pursuant to 28 U.S.C. § 1332.

5.     Name the parties who disagree with the plaintiff’s jurisdictional allegations and state
       their reasons.

       None.

6.     List anticipated additional parties that should be included, when they can be added,
       and by whom they are wanted.

       None.

7.     List anticipated interventions.

       None.

8.     Describe class-action issues.

       None.

9.     State whether each party represents that it has made the initial disclosures required
       by Rule 26(a)(1). If not, describe the arrangements that have been made to complete
       such disclosures.

       The parties intend to exchange initial disclosures on or before June 30, 2023.

10.    Describe the proposed agreed discovery plan, including:

       A.      Discovery is needed on the following subjects:

       The parties anticipate conducting discovery regarding Plaintiff’s compliance with the terms
of the Note and Deed of Trust, the terms of his Covid-19 Forbearance, as well as his various
applications for loan modification.

        The parties anticipate discovery should be completed on or before October 31, 2023, not
conducted in phases, and with no limitations other than those provided by the Federal Rules of
Civil Procedure.




                                                2
      Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 3 of 6




       B.      The date experts for plaintiff (or Party with the burden of proof on an issue) will
               be designated and their reports provided to opposing party:

               Plaintiff does not anticipate designating experts with the exception of his legal
               counsel regarding reasonable and necessary attorney fees.

       C.      The date experts for defendant will be designated and their reports provided to
               opposing party:

               Defendant anticipates designating experts to Plaintiff on or before March 1, 2024.

       D.      The date discovery can reasonably be completed.

               October 31, 2023.

11.    If the parties are not agreed on a part of the discovery plan, describe the separate
       views and proposals of each party.

       None.

12.    Specify the discovery beyond initial disclosures that has been undertaken to date.

       None.

13.    Describe the possibilities for a prompt settlement or resolution of the case that were
       discussed in your Rule 26(f) meeting.

       The parties have engaged in initial settlement discussions, principally revolving around
       another loan modification application.

14.    Describe what each party has done or agreed to do to bring about a prompt resolution
       of this dispute.

       Defendant has solicited a settlement offer from Plaintiff. Plaintiff has agreed to discuss
       settlement.

15.    From the attorneys’ discussion with their client(s), state the alternative dispute
       resolution techniques that are reasonably suitable.

       Defendant believes mediation is premature at this time. The parties are open to informal
       settlement negotiations in order to determine if early settlement is possible.




                                                3
      Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 4 of 6




16.    With the consent of all parties, United States Magistrate Judge Andrew Edison may
       preside and hear jury and non-jury trials. Indicate the parties' joint position on a
       trial before Magistrate Judge Edison.

       The parties do not consent to trial before the Magistrate.

17.    State whether a jury demand has been made and if it was made on time.

       Plaintiff did not make a jury demand in the Original Petition.

18.    Specify the number of hours it will take to try this case (including jury selection,
       presentation of evidence, counsel’s opening statements and argument, and charging
       the jury).

       Both parties anticipate that the trial of this matter would take 1-2 days (8 to 12 hours).

19.    List pending motions that could be ruled on at the initial pretrial conference.

       None.

20.    List other motions pending.

       None.

21.    Indicate other matters peculiar to this case, including but not limited to traditional
       and electronic discovery issues, that deserve the special attention of the court at the
       conference.

       None.

22.    Certify that all parties have filed Disclosure of Interested Parties as directed in the
       Order for Conference and Disclosure of Interested Parties, listing the date of filing
       for original and any amendments.

       Defendant filed its Certificate of Interested Parties on March 28, 2023.
       Plaintiff filed its Certificate of Interested Parties on April 13, 2023.




                                                 4
Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 5 of 6




                                 Respectfully submitted,




                           By:           /s/ Melissa S. Gutierrez
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                                 And

                                  /s/Robert C. Vilt
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                                 ATTORNEY FOR PLAINTIFF




                                    5
      Case 3:23-cv-00080 Document 13 Filed on 06/12/23 in TXSD Page 6 of 6




                                 CERTIFICATE OF SERVICE
       I certify that on this 12th day of June, 2023, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. I further certify that a true and correct copy of the
foregoing has been served on all counsel of record as follows:

                      Via E-mail: clay@viltlaw.com; nicolas@viltlaw.com
                                         Robert C. Vilt
                                         Vilt Law, PC
                               5177 Richmond Ave., Ste. 1142
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                                     Attorney for Plaintiff



                                                      /s/ Melissa Gutierrez Alonso
                                                      Melissa Gutierrez Alonso




                                                 6
